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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 11-CV-62607-WILLIAMS/SELTZER


     WILLIAM L. TAYLOR,

            Plaintiffs,

     vs.

     EMERALD THAI, INC. a Florida Corporation,
     and ARREL ENTERPRISES, INC. a Florida
     Limited Liability Company,

            Defendants.

     __________________________________/

                  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

            Plaintiff, WILLIAM L. TAYLOR, by and through undersigned counsel and

     pursuant to Fed. R. Civ. P. 41(1)(A)(i), hereby voluntarily dismisses Defendant,

     Emerald Thai, Inc. with prejudice and as Emerald Thai, Inc. was the sole

     remaining Defendant, seeks to dismiss this cause of action with prejudice.

            Respectfully submitted this 12th day of April, 2012.

                                                  /s/ Douglas S. Schapiro

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